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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA : CRIMINAL NO. 21-cr-303

V. : VIOLATIONS:
: 18U.S.C. §§ 1512(c)(2), 2
DEBORAH LYNN LEE, : (Obstruction of an Official Proceeding)
: 180U.S.C. § 1752(a)(1)
Defendant. : (Entering and Remaining in a Restricted

Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, Deborah
Lynn Lee, also known as “Debbie Lee,” attempted to, and did, corruptly obstruct, influence, and
impede an official proceeding, that is, a proceeding before Congress, specifically, Congress’s
certification of the Electoral College vote as set out in the Twelfth Amendment of the Constitution
of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
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COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere, Deborah
Lynn Lee, also known as “Debbie Lee,” did knowingly enter and remain in a restricted building
and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United
States Capitol and its grounds, where the Vice President was and would be temporarily visiting,
without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, within the District of Columbia and elsewhere, Deborah
Lynn Lee, also known as “Debbie Lee,” did knowingly, and with intent to impede and disrupt the
orderly conduct of Government business and official functions, engage in disorderly and disruptive
conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was and would be temporarily visiting, when and so that such conduct did in
fact impede and disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia and elsewhere, Deborah
Lynn Lee, also known as “Debbie Lee,” willfully and knowingly engaged in disorderly and
disruptive conduct within the United States Capitol Grounds and in any of the Capitol Buildings

with the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and
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either House of Congress, and the orderly conduct in that building of a hearing before or any
deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,

Section 5104(e)(2)(D))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia and elsewhere, Deborah
Lynn Lee, also known as “Debbie Lee,” willfully and knowingly paraded, demonstrated, and
picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Attorney of the Unitéd States in
and for the District of Columbia.
